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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 NATIONAL SHOOTING SPORTS                     )
 FOUNDATION,                                  )
                                              )
                                              )
                        Plaintiff,            )
                                              )
        v.                                    )
                                              ) C.A. No. 22-cv-01499-RGA
 KATHY JENNINGS, Attorney General of          )
 the State of Delaware,                       )
                                              )
                        Defendants.           )

     STIPULATION AND [PROPOSED] ORDER EXTENDING RESPONSE DATES

       WHEREAS, on November 16, 2022, Plaintiff filed its Complaint (D.I. 1) and Motion for

Preliminary Injunction (D.I. 3);

       WHEREAS, on November 29, 2022, Plaintiff effected service of process (D.I. 11); and

       WHEREAS, the parties are in the process of negotiating a schedule, for the Court’s

approval, governing Defendant’s responses to the Complaint and Motion for Preliminary

Injunction;

       IT IS HEREBY STIPULATED AND AGREED, subject to the approval of the Court, that:

       1.        The deadlines for Defendant to respond to the Complaint and the Motion for

Preliminary Injunction are held in abeyance pending entry of a scheduling order governing the

proceedings and applicable deadlines.


                                    8th day of ____________
              IT IS SO ORDERED this ____        December        2
                                                            202__.


                                       /s/ Richard G. Andrews
                                      ________________________________
                                      UNITED STATES DISTRICT JUDGE



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LEWIS BRISBOIS BISGAARD &               STATE OF DELAWARE
SMITH LLP                               DEPARTMENT OF JUSTICE

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